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                    UNITED STATES DISTRICT COURT
                          DISTRICT OF IDAHO
                U.S. MAGISTRATE JUDGE MINUTE ENTRY

☒Initial Appearance
☒Arraignment
☒Rule 5(c)(3) Preliminary Hearing

MAGISTRATE JUDGE: Ronald E. Bush                           DATE: January 13, 2021
DEPUTY CLERK/ESR: Jackie Hildebrand                        TIME: 11:17 am – 11:45 am via
                                                           Zoom
                                                           Boise, ID

                 UNITED STATES OF AMERICA vs. JOSIAH COLT
                            1-21-mj-00382-REB-1

Counsel for: United States (AUSA): Heather Patricco
             Defendant: Chuck Peterson, Federal Defender
             Probation: Nate Hudson

☒The Court advised that persons granted remote access to proceedings are reminded of the
 general prohibition under federal law and Local Rule 83.1 against photographing, recording,
 and rebroadcasting of court proceedings.
☒Defendant sworn.
☒Waived personal appearance for today’s proceeding.
☒The Court reviewed Complaint as received from the District of Columbia.
☒Defendant waived reading of the Complaint.
☒Defendant has read, reviewed waivers for identity and preliminary hearing.
☒Waived the right to production of the original or reliable copy of the warrant, as stated on the
 record.
☒Financial affidavit was reviewed/qualified and appointed Federal Defender.
☒Notice given re Brady v Maryland to defendant and counsel.
☒Court advised of rights concerning Rule 5 and Rule 20.
☒Government filed no motion for detention and Government has agreed to release the defendant
 as are set forth in the conditions of the bail report memo. Conditions read and reviewed with
 the defendant.
☒Defendant shall be released on conditions set forth in the Bail Report.
☒Counsel may keep copy of Bail Report; so Ordered.
☒The defendant is ordered to appear virtually before Magistrate Judge G. Michael Harvey on
 January 19 at 1 pm (EST), video instructions will be sent to counsel.
